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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


   KENNETH SEGAL, ADAM SEGAL,
   As trustee for and on behalf of
   THE KAREN AND KENNETH SEGAL
   DESCENDANTS TRUST, and SEGAL AND
   MOREL, INC.,                                                     CIVIL ACTION
                                                                     NO. 07-4647
                         Plaintiffs,

          v.

   STRAUSSER ENTERPRISES, INC.,
   GARY STRAUSSER, and
   LEONARD MELLON,

                         Defendants.

                                                ORDER


       AND NOW, this 30th day of September, 2021, after review of plaintiffs’ Motion for

Leave to File Amended Complaint, defendant Mellon’s opposition, plaintiffs’ reply, and

Mellon’s Sur Reply, for the reasons set forth in the accompanying Memorandum Opinion, it is

hereby ORDERED as follows:

       1. Defendant Mellon’s Motion for Leave to File a Sur Reply is GRANTED as the Court

          reviewed the Sur Reply in coming to this decision;

       2. Plaintiffs’ Motion for Leave to File Amended Complaint is GRANTED;

       3. Plaintiffs shall file their Amended Complaint within FIVE DAYS; and

       4. Defendants shall file a responsive pleading within THIRTY DAYS of plaintiffs’

          filing of the Amended Complaint; and

                                                   BY THE COURT:

                                                   /s/ Jeffrey L. Schmehl
                                                   Jeffrey L. Schmehl, J
